  Case 2:21-cr-00014-LGW-BWC Document 50 Filed 05/05/21 Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF GEORGIA
                               BRUNSWICK DIVISION


 UNITED STATES OF AMERICA,

         v.                                                 CASE NO.: 2:21-cr-14

 CECIL MCGILL TRIMBLE, SR.,

                Defendant.


                                            ORDER

       On April 30, 2021, the parties filed their Joint Status Report. Doc. 48. In that Report, the

parties state that all pretrial motions filed in this case as to Defendant Cecil McGill Trimble, Sr.

have been resolved. Accordingly, the Court DENIES as moot all motions, docs. 35–43, as to

Defendant Cecil McGill Trimble, Sr.

       The Motions Hearing scheduled for June 8, 2021 at 10:00 a.m. as to Defendant Cecil

McGill Trimble, Sr. is cancelled.

       SO ORDERED, this 5th day of May, 2021.




                                       BENJAMIN W. CHEESBRO
                                       UNITED STATES MAGISTRATE JUDGE
                                       SOUTHERN DISTRICT OF GEORGIA
